Case 3:06-CV-01009-AHN Document 19

Bobbi L. Bolton, pro se
P.O. BOX 69126
St. Louis, MO 63169

Donna Thomas, Clerk of Court
915 Lafayette Blvd.
Bn'dgeport, C'l` 06604

Re: Case No.: 3 :06CV1 009(AHN)(HBF)
Dear Clerk Thomas:

Filed 06/06/07 Page 1 of 7

June 4, 2007

I telephoned today and spoke with Rhodi at the courthouse there, in Bridgeport. I was
informed that my case was due to be dismissed due to lack of Hling a response to the

government’s Motion to Dismiss in March, 2007.

I did, in fact, respond with a Motion for Extension of Tirne in March, 2007. Please find
enclosed a copy of the U.S. Postal delivery receipt I have been eagerly awaiting a response for

some time now. Believe me I will not drop this case. FI`he manner in which I was treated, and

many others, must be brought forth.

I have had numerous conversations with Brett Dignan from Yale Law School and am
presently trying to contact her by phone. I will review this motion and prepare to move forward

with, or Without, Yale’s assistance

Please find enclosed a copy of the motion mailed on March 28, 2007, for an extension of
time. I look forward to hearing from you in the very near future. Thank you!

cc: ALAN MARC SOLOWAY, Asst. U.S. Atty.

Sincerely and Respectfully

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Bobbi L. Bolton, pro se

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UNlTF,D STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
Bobbi L. Bolton,
Pla.intiff, § CIVIL No.: 3:06€V1009(Atm)(HBF)
V. :
Bureau of Prisons, William Willingharn,
David Rentler, Richard Shamro, Becky,

Clay, Wesley Pummell, Valerie Smith :
and John Doe’s 8 through 20. : March 27, 2007

MOTION FOR EXTENSION OF TIME TO RESPON]) TO MOTION TO
DISMISS

The Plaintiff, Bobbi L. Bolton, pro se, moves for additional time to respond in the
above referenced case.

The purpose of this request is to allow time for the Plaintiff, Bobbi L. Bolton, pro se, to
respond to the Defendant's motion to dismiss of the United States and the individually named and
unnamed defendants

The Plaintiff is not a licensed attorney and is searching for legal assistance in the State of
Connecticut to assist her in this litigation By Plaintiff not having proper legal representation her case
will be negativer effected and thereby requests time to file accordingly Plaintiff hereby requests an
extension up to and including June 27, 2007.

This is the first application filed on behalf of Plaintiif for an extension of time.

WHEREFORE, it is prayed that the time to answer and/or file other pleadings on behalf of

Plaintiff, be extended up to and including June 27, 2007.

Respectiiilly ubmitted,

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CERTIFICATE OF SERVICE

 

This is to certify that a copy of the within and foregoing Motion was sent via postage prepaid
first class mail this 27"1 day of March, 2007 to:

ALAN MARC SOLOWAY
ASSISTANT U.S. AT'I`ORNEY
157 CHURCH ST. 23RD FLOOR
NEW HAVEN, CT 06508

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Bridgeton Post office
Bridgeton, Missouri
630449998
2871440644 ~0096
03/28/2007 (314}739-8927 11:49:17 AM

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Product Sale Unit Final
Description Qty Price Price
. BRIDGEPORT CT 06504 $4.05
_ Priority Mail
1.10 oz.
Delivery Confirmation $0.50
Label #: 03062400000346980272
Issue PVI: $€.5§

39¢ SR 1 $0.39 $0.39

Robinson PSA

Total: $4.94

Paid by:

Debit €ard $14.94
Aceount #: XXXXXXXXXXXX?¢I§
Approval #: 061362
Transaction #: 191
23 903071090
Receipt#: 007877
Debit Card Purchase $4.94
Cash Back $10.00

Urder stasps at USPS.col/shop or call
1-800-$tamp24. 60 to USPS.com/clicknship
to print shipping labels with postage.

For other information call 1-800-ASK-USPS.

Bill#: 1000403420390
Clerk: 08

All sales final on stamps and postage.
Refunds for guaranteed services only.
Thank you for your business.

Custoner Copy

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CERT|F|CATE OF SERV|CE
-_____________
This is to certify that a copy of the within and foregoing information was sent via postage

prepaid iiisi class mail this 4“‘ day 0meie, 2007, to:

ALAN MARC soLowAY
AssisrANr U.s. ATToRNEY
157 cHURcH sT., 23RD FLooR
NEW HAVEN, cr 06508

